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 8
 9                             UNITED STATES DISTRICT COURT
10                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
11   ERIC T. MITCHELL, an individual, on              CASE NO.: 2:20-cv-10455-SB-PD
12   behalf of himself and all others similarly
     situated,                                        SUPPLEMENTAL JOINT RULE 26(f)
13                                                    REPORT
14                Plaintiff,
15                                                    SCHEDULING CONFERENCE
     v.                                               set for February 26, 2021.
16
     SPECIALIZED LOAN SERVICING                       (Assigned to the Honorable Stanley
17
     LLC, a Delaware limited liability                Blumenfeld, Jr.)
18   company; and DOES 1-100, inclusive,
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                         Defendant.
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                                 SUPPLEMENTAL JOINT RULE 26(f) REPORT
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 1         Pursuant to the Court’s February 12, 2021 Order [Doc. 20], the parties, by and
 2   through their respective attorneys of record as set forth below, hereby submit their
 3   Supplemental Joint Rule 26 Scheduling Report. At the February 12, 2021 conference the
 4   Court requested a supplemental report regarding issues pertaining to: (1) whether this
 5   matter will proceed by way of a jury or court trial; and; 2) whether there is going to be a
 6   procedural vehicle that the parties intend to utilize to close the issue of the legality of AW
 7   code reporting. [Doc. 20].
 8         A.     Request for Jury Trial
 9         Both Plaintiff’s initial Complaint, initially filed in the Los Angeles Superior Court
10   and removed to this Court (ECF. No. 1), and Amended Complaint (ECF No. 10) included
11   requests for a jury trial. Plaintiff submits that his claims, including those for violation of
12   the Fair Credit Reporting Act (Counts I and II), violation of California Consumer Credit
13   Reporting Agencies Act Claim (Count III), Breach of Contract (Count IV) and
14   Negligence (Count VI) are properly tried to a jury. See Ramirez v. TransUnion, LLC, 951
15   F.3d 1008, 1031 (9th Cir. 2020), cert. granted in part, 2020 WL 7366280 (Mem) (Dec.
16   16, 2020) (jury trial under FCRA); Kim v. BMW Financial Services, LLC, 142 F.Supp.3d
17   395 (C.D. Cal. 2015), aff’d 702 Fed. Appx. 561 (9th Cir. 2017) (noting jury trial on
18   FCRA, CCRAA and other related claims).
19         B.     Proposed Procedure for comment code issue.
20         As set forth in the Joint Rule 26(f) Report [Doc. 19], a threshold and central issue
21   in this action is whether SLS properly reported Plaintiff’s account, subject to a
22   forbearance plan, to CRAs.
23         Plaintiff alleges that the CARES Act prohibits mortgage servicers like Defendant
24   from reporting loans in forbearance agreements due to the COVID-19 emergency as late,
25   non-current or otherwise in a negative manner to CRAs. Plaintiff alleges, inter alia, that
26   by reporting his account incorrectly, and/or failing to take additional steps to confirm that
27   the account was consistently maintained on credit reports made available through CRAs
28   as current and in a non-negative manner, throughout the agreed period of forbearance,
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                                 SUPPLEMENTAL JOINT RULE 26(f) REPORT
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 1   Defendant violated the CARES Act, the Fair Credit Reporting Act, 15 U.S.C. § 1681 et
 2   seq.(“FCRA”), California Consumer Credit Reporting Act, Cal; Civil Code §1785.25(a)
 3   et seq. (“CCRAA”), the Unfair Competition Law, Cal. Bus & Prof. Code § 17200 et seq.
 4   (“UCL”), their contracts with Plaintiff and the Class and other law.
 5          Defendant SLS submits that it properly reported Plaintiff’s account during the
 6   forbearance plan as “status 11 (current account), comment code AW (affected by natural
 7   or declared disaster) and ECOA of 1 (Individual)”. Defendant SLS submits this reporting
 8   is truthful, accurate, and consistent with the FCRA and CARES Act, California law, the
 9   forbearance plan, the Metro II guidelines, CFPB guidance, and guidance SLS received
10   from Experian and FICO relating to reporting during the pandemic.
11          The resolution of this central and threshold dispute relating to SLS’s credit
12   reporting, and related issues, will streamline the resolution of this action. In accordance
13   with Rule 1 and 26, the parties propose that the parties conduct reasonable and targeted
14   discovery on these issues and file dueling motions for summary judgment on the
15   following schedule:
16          Discovery period: February 22, 2021-May 10, 2021;
17          Parties’ Opening Briefs on Motions for Partial Summary Judgment: May 13, 2021;
18          Parties’ Opposition Brief: June 3, 2021;
19          Hearing: June 17-18, 2021.
20          If the Court agrees with this proposed schedule, SLS agrees to waive the one-way
21   intervention rule for the dueling motions for summary judgment proposed herein.. See
22   Villa v. San Francisco Forty-Niners, Ltd., 104 F. Supp. 3d 1017, 1021 (N.D. Cal. 2015)
23   (In the absence of an express or implied waiver by the defendant, courts appear unwilling
24   to exercise their discretion to consider pre-certification summary judgment motions filed
25   by plaintiffs.).
26   ///
27   ///
28   //
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                                SUPPLEMENTAL JOINT RULE 26(f) REPORT
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 1                                                ZIMMERMAN REED, LLP
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                                SUPPLEMENTAL JOINT RULE 26(f) REPORT
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 1                                         ATTESTATION
 2         Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filed attests that all other signatories
 3   listed, and on whose behalf this filing is submitted, concur in the filing’s content and
 4   have authorized the filing.
 5                                                   ZIMMERMAN REED, LLP
 6

 7
     Dated: February 17, 2021                   By: /s/ Caleb Marker
                                                    Caleb Marker (SBN 269721)
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                                   SUPPLEMENTAL JOINT RULE 26(f) REPORT
